Case 8:25-cv-01019-WFJ-AAS Documenti-1 Filed 04/23/25 Page1of1PagelD 12

Date: AX 223, 2025

Clerk of Court

United States District Court
801 N. Florida Ave.
Tampa, FL 33602

Re: Filing of New Civil Complaint Pro Se
Dear Clerk of Court:

I would like to file the enclosed complaint and accompanying documents in this Court. Please
find enclosed:

Complaint

Application for Temporary Restraining Order
Declaration

Civil Cover Sheet

Summons

Check for $405 to “Clerk, U.S. District Court”

AWE WN

I would appreciate it if you would please mail any correspondence to:

If you need any additional information, please contact me at satyajith92@gmail.com & (336)
405-4958.

Thank you,
9 .

Satyajith Bommana Boyana

BPR 23 2025 auio:ig
FILED - USOG - FLMD - TPA
